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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  JACKSON SAINVIL, individually
  and on behalf of all others similarly situated,                CLASS ACTION

         Plaintiff,

  vs.

  FASHION NOVA, INC.,                                            JURY TRIAL DEMANDED
  a California Corporation,

         Defendant.
  ___________________________________________/

                                   CLASS ACTION COMPLAINT

         Plaintiff, Jackson Sainvil (hereinafter “Plaintiff”), brings this class action under Rule 23

  of the Federal Rules of Civil Procedure against Fashion Nova, Inc. (“Defendant” or “Fashion

  Nova”) for its violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (hereinafter

  “the TCPA”), and the regulations promulgated thereunder. In support, Plaintiff alleges as follows:

                                   PRELIMINARY STATEMENT

          1.     Plaintiff brings this Class Action Complaint for damages, injunctive relief, and any

  other available legal or equitable remedies, resulting from the illegal actions of Fashion Nova, Inc.

  in negligently or willfully contacting Plaintiff on Plaintiff’s cellular telephone, in violation of the

  Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading

  Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to himself and his own

  acts and experiences, and, as to all other matters, upon information and belief, including

  investigation conducted by his attorneys.




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          2.     “Month after month, unwanted robocalls and texts, both telemarketing and

  informational, top the list of consumer complaints received by the [FCC].”1 The TCPA is designed

  to protect consumer privacy by, among other things, prohibiting the making of autodialed or

  prerecorded-voice calls to cell phone numbers and failing to institute appropriate do-not-call

  procedures. 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. 64.1200(d).

          3.     The TCPA was designed to prevent calls like the ones described within this

  complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints

  about abuses of telephone technology – for example, computerized calls dispatched to private

  homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740,

  744 (2012).

          4.     Additionally, the FCC has explicitly stated that the TCPA’s prohibition on

  automatic telephone dialing systems “encompasses both voice calls and text calls to wireless

  numbers including, for example, short message service (SMS) calls.” U.S.C.A. Const. Amend. 5;

  Telephone Consumer Protection Act of 1991, § 3(a), 47 U.S.C.A. § 227(b)(1)(A)(iii).

  Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165 (N.D. Cal. 2010)

          5.     In enacting the TCPA, Congress intended to give consumers a choice as to how

  creditors and telemarketers may call them and made specific findings that “[t]echnologies that

  might allow consumers to avoid receiving such calls are not universally available, are costly, are

  unlikely to be enforced, or place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–

  243, § 11. Toward this end, Congress found that:

                 [b]anning such automated or prerecorded telephone calls to the
                 home, except when the receiving party consents to receiving the call
                 or when such calls are necessary in an emergency situation affecting
                 the health and safety of the consumer, is the only effective means of


  1
         In re Rules & Regs. Implementing the TCPA, 30 FCC Rcd. 7961, ¶ 1 (2015).

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                 protecting telephone consumers from this nuisance and privacy
                 invasion.

  Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at* 4

  (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

          6.     In an action under the TCPA, a plaintiff must only show that the defendant “called

  a number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd,

  755 F.3d 1265 (11th Cir. 2014).

                                    JURISDICTION AND VENUE

          7.     This Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. §

  1331 and 47 U.S.C. § 227.

          8.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2), because a

  substantial part of the events or omissions giving rise to the claims in this case occurred in this

  District, including the transmission of the subject unauthorized text advertisements.

          9.     The Court has personal jurisdiction over Fashion Nova because it conducts business

  in this state, markets its services within this state, and has availed itself to the jurisdiction of the

  State of Florida by transmitting the subject unauthorized text advertisements to Plaintiff and Class

  Members in this state.

                                                PARTIES

          10.    Plaintiff’s domicile is in Broward County, Florida. Plaintiff is a citizen of the state

  of Florida.

          11.    Class Members are citizens of the state of Florida and throughout the United States.

          12.    Defendant, Fashion Nova, Inc., is a California Company and is citizen of California.




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          13.    Fashion Nova is a fashion online retailer of clothes and accessories, with five retail

  locations throughout Southern California and touts itself as “the #1 most-searched fashion brand

  on Google in 2018”. (Defendant’s website, https://www.fashionnova.com/pages/about-us, viewed

  on June 27, 2019).

          14.    Fashion Nova promotes and markets its merchandise, in part, by sending

  unsolicited text messages to wireless phone users.

          15.    Fashion Nova, directly or through other persons, entities or agents acting on its

  behalf, conspired to, agreed to, contributed to, authorized, assisted with, and/or otherwise caused

  all of the wrongful acts and omissions, including the dissemination of the unsolicited text messages

  that are the subject matter of this Complaint.

                                    FACTUAL ALLEGATIONS

          16.    At all times relevant, Plaintiff was a citizen of the State of Florida. Plaintiff is, and

  at all times mentioned herein was, a “person” as defined by 47 U.S.C. § 153 (39).

          17.    Fashion Nova is, and at all times mentioned herein was, a corporation and

  “persons,” as defined by 47 U.S.C. § 153 (39).

          18.    At all times relevant Fashion Nova conducted business in the State of Florida and

  in Broward County, within this judicial district.

          19.    Fashion Nova utilizes bulk SPAM text messaging, or SMS marketing, to send

  unsolicited text messages, marketing and advertising Fashion Nova’s merchandise, including at

  least one unsolicited text messages to Plaintiff.

          20.    Telemarketing is the initiation of a telephone call or message for the purpose of

  encouraging the purchase or rental of, or investment in, property, goods, or services, which is

  transmitted to any person.



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          21.    Fashion Nova sent text messages to Plaintiff for the purpose of encouraging the

  purchase of clothes and accessories sold by Fashion Nova.

          22.    The text messages which Fashion Nova sent to Plaintiff were unsolicited

  advertisements because the text promoted the commercial availability or quality of property,

  goods, or services offered for sale by Defendant, which it transmitted to Plaintiff without his prior

  express written consent. The text messages sent by Fashion Nova to Plaintiff constituted

  advertisements because the texts drew attention to clothes and accessories offered for sale by

  Fashion Nova to promote the sale of these clothes and accessories.

          23.    Defendant engaged in Telemarketing by sending text messages to Plaintiff which

  promoted the purchase of Defendant’s merchandise.

          24.    Fashion Nova engaged in Telemarketing when it sent the subject text messages to

  Plaintiff and Class Members because one purpose that Defendant had in sending these texts was

  to promote the sale of its property, goods, or services.

          25.    Fashion Nova failed to obtain prior express written consent from Plaintiff before it

  sent the subject text messages to her.

          26.    Upon information and belief, Plaintiff alleges that Defendant failed to obtain prior

  express written consent from Class Members before it sent text messages to Class Members.

          27.    For example, on or about November 20, 2018, at approximately 4:11 p.m. (EST),

  Fashion Nova sent the following unsolicited text messages to Plaintiff’s cellular telephone ending

  in “1601”.




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          28.    Thereafter, Defendant continued to send similar unsolicited text message

  advertisements Plaintiff’s “1601” number.

          29.    At no time did Plaintiff provide Plaintiff’s cellular phone number to Fashion Nova

  through any medium, nor did Plaintiff consent to receive such unsolicited text messages.

          30.    Plaintiff has never signed-up for, and has never used, Fashion Nova’s services, and

  has never had any form of business relationship with Fashion Nova.

          31.    Through the unsolicited SPAM text message, Fashion Nova contacted Plaintiff on

  Plaintiff’s cellular telephone regarding an unsolicited service via an “automatic telephone dialing




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  system,” (“ATDS”) as defined by 47 U.S.C. § 227(a)(1) and prohibited by 47 U.S.C. §

  227(b)(1)(A).

          32.     Upon information and belief, this ATDS has the capacity to store or produce

  telephone numbers to be called, using a random or sequential number generator.

          33.     Upon information and belief, this ATDS has the capacity to store numbers on a list

  and to dial numbers from a list without human intervention.

         34.      The impersonal and generic nature of the text messages that Defendant sent to

  Plaintiff demonstrate that Defendant used an ATDS to send the subject text messages.

         35.      Upon information and belief, Defendant used a combination of hardware and

  software systems which have the capacity to generate or store random or sequential numbers or to

  dial sequentially or randomly in an automated fashion without human intervention.

         36.      Upon information and belief, Defendant used a device to send the subject text

  messages to Plaintiff and Class Members that stores numbers and dials them automatically to a

  store list of phone numbers as part of scheduled campaigns.

          37.     This text message constituted a call that was not for emergency purposes as defined

  by 47 U.S.C. § 227(b)(1)(A)(i).

          38.     Plaintiff did not provide Fashion Nova or its agents prior express consent to receive

  text messages, including unsolicited text messages, to his cellular telephone, pursuant to 47 U.S.C.

          39.     The unsolicited text message by Fashion Nova, or their agents, violated 47 U.S.C.

  § 227(b)(1).

          40.     Fashion Nova is and was aware that it is placing unsolicited text messages to

  Plaintiff and other consumers without their prior express consent.




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          41.    Plaintiff was damaged by Fashion Nova’s text message. In addition to using

  Plaintiff’s cellular data, her privacy was wrongfully invaded, and Plaintiff has become

  understandably aggravated with having to deal with the frustration of repeated, unwanted robo-

  text messages forcing her to divert attention away from her work and other activities. See

  Muransky v. Godiva Chocolatier, Inc., 905 F.3d 1200, 1211 (11th Cir. 2018). (“[T]ime wasting is

  an injury in fact”…. “[A] small injury… is enough for standing purposes”).

                                CLASS ACTION ALLEGATIONS

          42.    Plaintiff brings this class action under rules 23(a) and 23(b)(2) & (b)(3) of the

  Federal Rules of Civil Procedure on behalf of itself and of a similarly situated “Class” or “Class

  Members” defined as:

                 All persons in the United States who, within the four years prior to
                 the filing of this Complaint, were sent one or more text messages,
                 from Defendant or anyone on Defendant’s behalf, to said person’s
                 cellular telephone number, promoting the sale of Defendant’s
                 merchandise, without the recipients’ prior express written consent.

          43.    Excluded from the Class are: any Defendant, and any subsidiary or affiliate of that

  Defendant, and the directors, officers and employees of that Defendant or its subsidiaries or

  affiliates, and members of the federal judiciary.

          44.    This action has been brought and may properly be maintained as a class action

  against Fashion Nova pursuant to Rule 23 of the Federal Rules of Civil Procedure because there

  is a well-defined community of interest in the litigation and the proposed Class is easily

  ascertainable. Plaintiff reserves the right to amend the Class definition if discovery and further

  investigation reveal that any Class should be expanded or otherwise modified.

          45.    Numerosity: At this time, Plaintiff does not know the exact number of Class

  Members, but among other things, given the nature of the claims and that Fashion Nova’s conduct



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  consisted of a standardized SPAM text messaging campaign electronically sent to particular

  telephone numbers, Plaintiff believes, at a minimum, there are greater than forty (40) Class

  Members. Plaintiff believes that the Class is so numerous that joinder of all members of the Class

  is impracticable and the disposition of their claims in a class action rather than incremental

  individual actions will benefit the Parties and the Court by eliminating the possibility of

  inconsistent or varying adjudications of individual actions.

          46.    Upon information and belief, a more precise Class size and the identities of the

  individual members thereof are ascertainable through Fashion Nova’s records, including, but not

  limited to Fashion Nova’s text and marketing records.

          47.    Members of the Class may additionally or alternatively be notified of the pendency

  of this action by techniques and forms commonly used in class actions, such as by published notice,

  e-mail notice, website notice, fax notice, first class mail, or combinations thereof, or by other

  methods suitable to this class and deemed necessary and/or appropriate by the Court.

          48.    Existence and Predominance of Common Questions of Fact and Law: There is

  a well-defined community of common questions of fact and law affecting the Plaintiff and

  members of the Class. Common questions of law and/or fact exist as to all members of the Class

  and predominate over the questions affecting individual Class members. These common legal

  and/or factual questions include, but are not limited to, the following:

             a. Whether, within the four years prior to the filing of this Complaint, Fashion Nova

                 or its agents sent any unsolicited text message/s (other than a message made for

                 emergency purposes or made with the prior express consent of the called party) to

                 a Class member using any automatic dialing and/or SMS texting system to any

                 telephone number assigned to a cellular phone service;



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             b. How Fashion Nova obtained the numbers of Plaintiff and Class members;

             c. Whether the dialing system used to send the subject text message is an Automatic

                 Telephone Dialing System;

             d. Whether Fashion Nova engaged in telemarketing when it sent the text message

                 which are the subject of this lawsuit;

             e. Whether the text message sent to Plaintiff and Class Members violate the TCPA

                 and its regulations;

             f. Whether Fashion Nova willfully or knowingly violated the TCPA or the rules

                 prescribed under it;

             g. Whether Plaintiff and the members of the Class are entitled to statutory damages,

                 treble damages, and attorney fees and costs for Fashion Nova’s acts and conduct;

             h. Whether Plaintiff and members of the Class are entitled to a permanent injunction

                 enjoining Fashion Nova from continuing to engage in its unlawful conduct; and

             i. Whether Plaintiff and the Class are entitled to any other relief.

          49.    One or more questions or issues of law and/or fact regarding Fashion Nova’s

  liability are common to all Class Members and predominate over any individual issues that may

  exist and may serve as a basis for class certification under Rule 23(c)(4).

          50.    Typicality: Plaintiff’s claims are typical of the claims of the members of the Class.

  The claims of the Plaintiff and members of the Class are based on the same legal theories and arise

  from the same course of conduct that violates the TCPA.

          51.    Plaintiff and members of the Class each received at least one SPAM text

  advertisement, advertising the purchase of watches and accessories sold by Fashion Nova, which

  Fashion Nova sent or caused to be sent to Plaintiff and the members of the Class.



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           52.    Adequacy of Representation: Plaintiff is an adequate representative of the Class

  because Plaintiff’s interests do not conflict with the interests of the members of the Class. Plaintiff

  will fairly, adequately and vigorously represent and protect the interests of the members of the

  Class and has no interests antagonistic to the members of the Class. Plaintiff has retained counsel,

  who are competent and experienced in litigation in the federal courts, TCPA litigation and class

  action litigation.

           53.    Superiority: A class action is superior to other available means for the fair and

  efficient adjudication of the claims of the Class. While the aggregate damages which may be

  awarded to the members of the Class are likely to be substantial, the damages suffered by

  individual members of the Class are relatively small. As a result, the expense and burden of

  individual litigation makes it economically infeasible and procedurally impracticable for each

  member of the Class to individually seek redress for the wrongs done to them. Plaintiff does not

  know of any other litigation concerning this controversy already commenced against Fashion Nova

  by any member of the Class. The likelihood of the individual members of the Class prosecuting

  separate claims is remote. Individualized litigation would also present the potential for varying,

  inconsistent or contradictory judgments, and would increase the delay and expense to all parties

  and the court system resulting from multiple trials of the same factual issues. In contrast, the

  conduct of this matter as a class action presents fewer management difficulties, conserves the

  resources of the parties and the court system, and would protect the rights of each member of the

  Class. Plaintiff knows of no difficulty to be encountered in the management of this action that

  would preclude its maintenance as a class action.

           54.    Class-Wide Injunctive Relief and Rule 23(b)(2): Moreover, as an alternative to

  or in addition to certification of the Class under Rule 23(b)(3), class certification is warranted



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  under Rule 23(b)(2) because Fashion Nova has acted on grounds generally applicable to Plaintiff

  and members of Class, thereby making appropriate final injunctive relief with respect to Plaintiff

  and Class Members as a whole. Plaintiff seeks injunctive relief on behalf of Class Members on

  grounds generally applicable to the entire Class in order to enjoin and prevent Defendant Fashion

  Nova’s ongoing violations of the TCPA, and to order Fashion Nova to provide notice to them of

  their rights under the TCPA to statutory damages and to be free from unwanted text messages.

                                  COUNT I
          VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227(b)

          55.      Plaintiff incorporates by reference all of the allegations contained in paragraphs 1

  through 54 of this Complaint as though fully stated herein.

          56.      It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system. . .to any telephone number assigned to a . . .cellular telephone

  service . . .” 47 U.S.C. § 227(b)(1)(A)(iii).

         57.       “Automatic telephone dialing system” refers to any equipment that has the

  “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc., No.

  07-61822, 2009 WL 2365637, at *4 (S..D. Fla. June 9, 2009) (citing FCC, In re: Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991: Request of ACA

  International for Clarification and Declaratory Ruling, 07-232, Par. 12, n.23 (2007)).

         58.       Defendant – or third parties directed by Defendant – used equipment having the

  capacity to dial numbers without human intervention to make non-emergency telephone calls, for

  telemarketing purposes, to the cellular telephones of Plaintiff and the other members of the Class

  defined above.



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         59.     These calls were made without regard to whether or not Defendant had first

  obtained express permission from the called party to make such calls. In fact, Defendant did not

  have prior express consent to call the cell phones of Plaintiff and the other members of the putative

  Class when its calls were made.

          60.    Defendant has, therefore, violated Sec. 227(b)(1)(A)(iii) of the TCPA by using an

  automatic telephone dialing system to send non-emergency text messages to the cell phones of

  Plaintiff and the other members of the putative Class without their prior express written consent.

          61.    The foregoing acts and omissions of Fashion Nova constitutes numerous and

  multiple violations of the TCPA, including but not limited to each and every one of the above-

  cited provisions of 47 U.S.C. § 227 et seq.

          62.    As a result of Fashion Nova’s negligent violations of 47 U.S.C. § 227 et seq.,

  Plaintiff and the Class are entitled to an award of $500.00 in statutory damages, for each and every

  violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

          63.    Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting such

  conduct in the future.

         WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the Class

  members relief against Fashion Nova, as set forth in the Prayer for Relief below.

                                    COUNT II
                    KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                      TELEPHONE CONSUMER PROTECTION ACT
                                 47 U.S.C. § 227(b)

          64.    Plaintiff incorporates by reference all of the allegations contained in paragraphs 1

  through 54 and 58--60 of this Complaint as though fully stated herein.

          65.    At all relevant times, Defendant knew or should have known that its conduct as

  alleged herein violated the TCPA.

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          66.    Defendant knew that it did not have prior express consent to send these texts, and

  knew or should have known that its conduct was a violation of the TCPA.

          67.    Because Defendant knew or should have known that Plaintiff and Class Members

  did not give prior express consent to receive autodialed texts, the Court should treble the amount

  of statutory damages available to Plaintiff and members of the putative Class pursuant to §

  227(b)(3) of the TCPA.

          68.    As a result of Fashion Nova’s knowing and/or willful violations of 47 U.S.C. §

  227(b), Plaintiff and The Class are entitled to an award of $1,500.00 in statutory damages, for each

  and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

          69.    Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting such

  conduct in the future.

          70.    WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the

  Class members relief against Fashion Nova, as set forth in the Prayer for Relief below.

                                       PRAYER FOR RELIEF
         WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiff’s favor and in

  favor of the class, against Fashion Nova for:

             a. An order certifying this case as a class action, certifying Plaintiff as representative

                 of the Class, and designating Plaintiff’s attorneys Class counsel;

             b. Statutory damages of $500 per text;

             c. Willful damages at $1,500 per text;

             d. A declaration that Fashion Nova’s practices described herein violate the Telephone

                 Consumer Protection Act, 47 U.S.C. § 227(b)(1)(A)(iii);

             e. An injunction prohibiting Fashion Nova’s from using an automatic telephone

                 dialing system to text numbers assigned to cellular telephones without the prior

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                express written consent of the called party;

            f. Reasonable attorney’s fees and costs; and

            g. Such further and other relief as this Court deems reasonable and just.



                                  DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury.


  Dated: June 28, 2019                        Respectfully submitted,

                                              /s/ Seth Lehrman
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